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     Fill in this information to identify the case:


     United States Bankruptcy Court for the Southern District of Texas

     Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



  Official Form 201
  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                           04/22

  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
  (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

    1.   Debtor’s name                                Talen Energy Services Holdings, LLC


    2.   All other names debtor used                  PPL Energy Services Holdings, LLC
         in the last 8 years

         Include any assumed names, trade
         names, and doing business as
         names



    3.   Debtor’s federal Employer
         Identification Number (EIN)                  N/A


    4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                            place of business


                                                      1780       Hughes Landing Boulevard
                                                      Number     Street                                                     Number              Street


                                                      Suite 800
                                                                                                                            P.O. Box


                                                      The Woodlands               Texas             77380
                                                      City                        State             ZIP Code                City                State              ZIP Code

                                                                                                                            Location of principal assets, if different from
                                                                                                                            principal place of business
                                                      Montgomery
                                                      County
                                                                                                                            Number              Street




                                                                                                                            City                State              ZIP Code




    5.   Debtor’s website (URL)                       https://www.talenenergy.com

    6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                      ☐ Partnership (excluding LLP)
                                                      ☐ Other. Specify:



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 Debtor         Talen Energy Services Holdings, LLC                     number (if known)                                     22-_____ ( )
                Name


                                           A. Check one:
 7.   Describe debtor’s business
                                           ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                           ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ☒   None of the above


                                           B. Check all that apply:
                                           ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              2382 – Building Equipment Contractors

 8.   Under which chapter of the
                                           Check one:
      Bankruptcy Code is the
      debtor filing?                       ☐ Chapter 7
                                           ☐ Chapter 9
                                           ☒ Chapter 11. Check all that apply:
                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment
                                                              on 4/01/25 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If
                                                              the debtor is a small business debtor, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return
                                                              or if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                              1116(1)(B).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
                                                              and it chooses to proceed under Subchapter V of Chapter 11.
                                                            ☐ A plan is being filed with this petition.
                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                              of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q)
                                                              with the Securities and Exchange Commission according to § 13 or 15(d) of
                                                              the Securities Exchange Act of 1934. File the Attachment to Voluntary
                                                              Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                              Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                              1934 Rule 12b-2.
                                           ☐ Chapter 12
 9.   Were prior bankruptcy cases          ☒ No
      filed by or against the debtor
      within the last 8 years?             ☐ Yes        District                          When                          Case number
                                                                                                      MM/ DD/ YYYY
      If more than 2 cases, attach a
      separate list.                                    District                          When                          Case number
                                                                                                       MM / DD/ YYYY


 10. Are any bankruptcy cases              ☐ No
     pending or being filed by a
     business partner or an                ☒ Yes        Debtor         See Schedule 1                                Relationship     See Schedule 1
     affiliate of the debtor?                           District       Southern District of Texas                    When             May 9, 2022
      List all cases. If more than 1,                                                                                                 MM / DD/ YYYY
                                                        Case number, if known
      attach a separate list.




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 Debtor          Talen Energy Services Holdings, LLC                      number (if known)                                                22-_____ ( )
                 Name


 11.      Why is the case filed in this        Check all that apply:
          district?
                                               ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                    district.
                                               ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                               ☒ No
     possession of any real
     property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate
     attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                          ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                               health or safety.

                                                              What is the hazard?
                                                          ☐    It needs to be physically secured or protected from the weather.
                                                          ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                               without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                               securities-related assets or other options).


                                                          ☐ Other


                                                            Where is the property?
                                                                                            Number                    Street


                                                                                            City                               State               ZIP Code
                                                          Is the property insured?
                                                                                           ☐ No
                                                                                            ☐ Yes. Insurance agency
                                                                                                      Contact Name
                                                                                                      Phone




                  Statistical and administrative information



    13. Debtor’s estimation of                 Check one:
        available funds                        ☒   Funds will be available for distribution to unsecured creditors.
                                               ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                    
                                               ☐   1-49                                 ☐     1,000-5,000                              ☐     25,001-50,000
        creditors                              ☐   50-99                                ☐     5,001-10,000                             ☐     50,001-100,000
           (on a consolidated basis with all   ☐   100-199                              ☒     10,001-25,000                            ☐     More than 100,000
           affiliated debtors)
                                               ☐   200-999

    15. Estimated assets                       ☐   $0-$50,000                           ☐     $1,000,001-$10 million                   ☐     $500,000,001-$1 billion
           (on a consolidated basis with all   ☐   $50,001-$100,000                     ☐     $10,000,001-$50 million                  ☐     $1,000,000,001-$10 billion
           affiliated debtors)
                                               ☐   $100,001-$500,000                    ☐     $50,000,001-$100 million                 ☒     $10,000,000,001-$50 billion
                                               ☐   $500,001-$1 million                  ☐     $100,000,001-$500 million                ☐     More than $50 billion




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 Debtor         Talen Energy Services Holdings, LLC                      number (if known)                                            22-_____ ( )
                Name



    16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
          (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☐     $1,000,000,001-$10 billion
          affiliated debtors)
                                              ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☒     $10,000,000,001-$50 billion
                                              ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion



                 Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
           up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
    17. Declaration and signature of                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
        authorized representative of                     this petition.
        debtor
                                                        I have been authorized to file this petition on behalf of the debtor.

                                                        I have examined the information in this petition and have a reasonable belief that the information is
                                                         true and correct.
                                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                             Executed on May 9, 2022
                                                                         MM / DD/ YYYY


                                                             /s/ Andrew M. Wright                                       Andrew M. Wright
                                                             Signature of authorized representative of                  Printed name
                                                              debtor

                                                             General Counsel and Secretary
                                                             Title




    18. Signature of attorney                            /s/ Gabriel A. Morgan                                        Date      May 9, 2022
                                                        Signature of attorney for debtor                                       MM / DD / YYYY
                                                        Gabriel A. Morgan                                            Matthew S. Barr
                                                          Printed Name
                                                 
                                                        Weil, Gotshal & Manges LLP                                   Weil, Gotshal & Manges LLP
                                                          Firm Name
                                                 
                                                        700 Louisiana Street, Suite 1700                             767 Fifth Avenue
                                                          Address
                                                 
                                                        Houston, Texas 77002                                         New York, New York 10153
                                                          City/State/Zip
                                                 
                                                        (713) 546-5000                                               (212) 310-8000
                                                          Contact Phone
                                                 
                                                        Gabriel.Morgan@weil.com                                      Matt.Barr@weil.com
                                                          Email Address
                                                 
                                                        24125891                            Texas
                                                        Bar Number                          State




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                                                  Schedule 1

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the affiliated entities listed below, including the debtor
in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the Southern District of Texas
(the “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of each
Entity listed below be consolidated for procedural purposes only and jointly administered, pursuant
to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to
the chapter 11 case of Talen Energy Supply, LLC.

                                                 COMPANY
                        Talen Energy Supply, LLC
                        Talen Montana Holdings, LLC
                        Talen Montana, LLC
                        Montana Growth Holdings LLC
                        Colstrip Comm Serv, LLC
                        Talen Generation, LLC
                        Montour, LLC
                        Brunner Island, LLC
                        Raven Power Generation Holdings LLC
                        Raven Power Group LLC
                        Raven Power Finance LLC
                        Raven Power Fort Smallwood LLC
                        Raven FS Property Holdings LLC
                        H.A. Wagner LLC
                        Brandon Shores LLC
                        Raven Lot 15 LLC
                        Fort Armistead Road – Lot 15 Landfill, LLC
                        Raven Power Property LLC
                        RMGL Holdings LLC
                        Brunner Island Services, LLC
                        Realty Company of Pennsylvania
                        BDW Corp.
                        Lady Jane Collieries, Inc.
                        Montour Services, LLC
                        Holtwood, LLC
                        Martins Creek, LLC
                        Sapphire Power Generation Holdings LLC
                        Sapphire Power LLC
                        Sapphire Power Finance LLC




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                                                COMPANY
                        MEG Generating Company, LLC
                        Sapphire Power Marketing LLC
                        Pedricktown Management Company LLC
                        Pedricktown Investment Company LLC
                        Pedricktown Cogeneration Company LP
                        York Plant Holding, LLC
                        York Generation Company LLC
                        Elmwood Energy Holdings, LLC
                        Elmwood Park Power, LLC
                        Camden Plant Holding, L.L.C.
                        Newark Bay Holding Company, L.L.C.
                        Liberty View Power, L.L.C.
                        Newark Bay Cogeneration Partnership, L.P.
                        Morris Energy Management Company, LLC
                        Morris Energy Operations Company, LLC
                        Lower Mount Bethel Energy, LLC
                        Pennsylvania Mines, LLC
                        MC OpCo LLC
                        Talen Nuclear Development, LLC
                        Bell Bend, LLC
                        Susquehanna Nuclear, LLC
                        Talen Texas, LLC
                        Barney Davis, LLC
                        Nueces Bay, LLC
                        Laredo, LLC
                        Talen Texas Property, LLC
                        Talen Texas Group, LLC
                        Talen Energy Marketing, LLC
                        Talen Energy Retail LLC
                        Talen Treasure State, LLC
                        Talen Energy Services Group, LLC
                        Talen Energy Services Holdings, LLC
                        Talen Energy Services Northeast, Inc.
                        Talen Land Holdings, LLC
                        Talen NE LLC
                        NorthEast Gas Generation Holdings, LLC
                        Dartmouth Plant Holding, LLC
                        Dartmouth Power Holding Company, L.L.C.
                        Dartmouth Power Generation, L.L.C.




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                                                COMPANY
                        Dartmouth Power Associates Limited Partnership
                        Talen II Growth Parent LLC
                        Talen II Growth Holdings LLC
                        Talen Technology Ventures LLC




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                                          ACTION BY
                                     WRITTEN CONSENT OF
                                  THE GOVERNING BODIES OF
                   THE ENTITIES SET FORTH ON SCHEDULE A ATTACHED HERETO
                                          May 9, 2022

             The undersigned, being all of the members of the board of directors, all of the members of the board
     of managers, the sole member, the managing member, or the general partner, as the case may be (as
     applicable, the “Governing Body”) of the applicable entities set forth on Schedule A attached hereto (each,
     an “Entity”, and collectively, the “Entities”) do hereby consent to, adopt and approve, by written consent
     in accordance with applicable law and the relevant provisions of the respective governing documents of the
     applicable Entity, the following resolutions and each and every action effected thereby:

            WHEREAS, each Entity is a direct or indirect wholly-owned subsidiary of Talen Energy Supply,
     LLC, a Delaware Limited Liability Company (“TES” and, together with the Entities, the “Company”);

             WHEREAS, the Company, with the assistance of legal and financial advisors, has been conducting
     a review of strategic alternatives;

             WHEREAS, each Governing Body has reviewed and has had the opportunity to review and
     analyze the liabilities and liquidity of such Entity and their respective subsidiaries, the strategic alternatives
     available to such Entity and the impact of the foregoing on such Entity’s business;

              WHEREAS, each Governing Body has had the opportunity to consult with the management and
     the legal and financial advisors of the applicable Entity to fully consider, and have considered, the strategic
     alternatives available to such Entity;

              WHEREAS, each Governing Body believes that taking the actions set forth below are in the best
     interests of the applicable Entity and, therefore, desires to adopt, authorize, and approve the following
     resolutions:

I.       Commencement of Chapter 11 Case

              RESOLVED, each Governing Body has determined, after due consultation with the management
     and the legal and financial advisors of the applicable Entity, that it is desirable and in the best interests of
     such Entity, its creditors, and other parties in interest that a petition be filed by such Entity seeking relief
     under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and be
     it further

              RESOLVED, that Alejandro Hernandez, as President and Chief Executive Officer of TES, John
     Chesser as Chief Financial Officer and Treasurer of TES, and Andrew M. Wright as General Counsel and
     Secretary of TES, and any other manager, member, officer or director of any Entity (with respect to each
     Entity and/or the Company, each such person, an “Authorized Person”), in each case, acting singly or
     jointly, be, and each hereby is, authorized, empowered and directed, with full power of delegation, to
     negotiate, execute, deliver and file with the United States Bankruptcy Court for the Southern District of
     Texas, Houston Division (the “Bankruptcy Court”), in the name and on behalf of the Company, and under
     its corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications,
     pleadings, papers, affidavits, declarations, orders, notices and other documents (collectively, the “Chapter
     11 Filings”) (with such changes therein and additions thereto as any such Authorized Person may deem
     necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by any such
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   Authorized Person with any changes thereto to be conclusive evidence that any such Authorized Person
   deemed such changes to meet such standard); and be it further

           RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and each
   hereby is, authorized, empowered and directed, with full power of delegation, in the name and on behalf of
   the Company, to take and perform any and all further acts and deeds that such Authorized Person deems
   necessary, appropriate, or desirable in connection with the Company’s chapter 11 cases (collectively,
   the “Chapter 11 Cases”) or the Chapter 11 Filings, including, without limitation, (i) the payment of fees,
   expenses and taxes such Authorized Person deems necessary, appropriate, or desirable, and (ii) negotiating,
   executing, delivering, performing and filing any and all additional documents, schedules, statements, lists,
   papers, agreements, certificates and/or instruments (or any amendments or modifications thereto) in
   connection with, or in furtherance of, the Chapter 11 Cases with a view to the successful prosecution of the
   Chapter 11 Cases (such acts to be conclusive evidence that such Authorized Person deemed the same to
   meet such standard); and be it further

 II.   Restructuring Support Agreement

                   RESOLVED, that in connection with each Entity’s Chapter 11 Case, the Governing Body
   of such Entity has determined that it is in the best interests of such Entity to enter into a Restructuring
   Support Agreement (the “Restructuring Support Agreement”) on the terms and conditions substantially
   similar to those set forth in the form of Restructuring Support Agreement previously provided to such
   Governing Body; and be it further

                   RESOLVED, that the form, terms and provisions of the Restructuring Support Agreement,
   together with the term sheet annexed thereto (the “Term Sheet”) and the execution, delivery and
   performance thereof and the consummation of the transactions contemplated thereunder by such Entity are
   hereby authorized, approved and declared advisable and in the best interest of such Entity, with such
   changes therein and additions thereto as Authorized Person executing the same may in his or her discretion
   deem necessary or appropriate, the execution of the Restructuring Support Agreement to be conclusive
   evidence of the approval thereof; and be it further

                   RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
   in the name and on behalf of such Entity, to cause such Entity to deliver, certify, file and/or record, the
   Restructuring Support Agreement, including the Term Sheet attached thereto and such other documents,
   agreements, instruments and certificates as may be required by the Restructuring Support Agreement,
   including the Term Sheet and the Backstop Commitment Letter (as defined in the Restructuring Support
   Agreement); and be it further

III.   Debtor-in-Possession Financing

            RESOLVED, that in connection with the Chapter 11 Cases, it is in the best interests of (i) in the
   case of Talen Energy Supply, LLC, a Delaware limited liability company (the “DIP Facility Borrower”),
   to enter into and obtain loans, (ii) in the case of the Subsidiary Guarantors (as defined below), to guarantee
   the DIP Facility Borrower’s obligations under the DIP New Money Credit Agreement (as defined below),
   and (iii) in the case of the DIP Facility Borrower and the Subsidiary Guarantors, to consummate the
   transactions under that certain Superpriority Secured New Money Debtor-in-Possession Credit Agreement
   (the “DIP New Money Credit Agreement”) consisting of (a) a revolving credit facility in an aggregate
   principal amount of up to $300,000,000, (b) a term loan facility in an aggregate principal amount of up to
   $1,000,000,000, and (c) a letter of credit facility in an aggregate principal amount of up to $457,905,218.85,
   consisting of all letters of credit outstanding under the Prepetition Revolving Credit Facility as of the
   Petition Date (the “Existing Letters of Credit”) which shall be deemed issued under the DIP Continuing


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LC Credit Agreement (as extended, renewed, and/or replaced under the Continuing L/C Facility,
the “Continuing Letters of Credit” and, together with the New Money DIP Letters of Credit, the “DIP
Letters of Credit”); in each case, substantially on the terms and conditions set forth in the DIP New Money
Credit Agreement by and among, the DIP Facility Borrower and the other Companies, as guarantors (the
“Subsidiary Guarantors”), the lenders from time to time party thereto (the “Lenders”), and Citibank,
N.A. (“Citibank”), as administrative agent and collateral agent for the Lenders (in such capacity and
together with its successors, the “Agent”) and, with respect to the DIP New Money Credit Agreement, the
Term Lenders, Revolving Lenders, and Issuing Lenders (as defined in the DIP New Money Credit
Agreement (the “New Money L/C Issuers”)) and, with respect to the DIP Continuing LC Credit
Agreement, the Issuing Lenders (as defined in the DIP Continuing LC Credit Agreement (the “Continuing
L/C Issuers”) and, together with the New Money L/C Issuers, the “DIP L/C Issuers” and, collectively
with the Term Lenders, Revolving Lenders, and DIP Agent, the “DIP Secured Parties”); and, in each case,
subject to approval by the Bankruptcy Court, which is necessary and appropriate to the conduct of the
business of the Company (the “Debtor-in-Possession Financing”); and be it further

         RESOLVED, that the execution and delivery of the DIP New Money Credit Agreement and the
DIP Financing Documents (as defined below) by each Entity that is party thereto and the consummation by
such Entity of the transactions contemplated thereunder, including (i) in the case of the DIP Facility
Borrower, the borrowing of funds under the DIP New Money Credit Agreement, (ii) in the case of the
Subsidiary Guarantors, the guaranty of the obligations thereunder as provided in any guaranty, (iii) in the
case of the DIP Facility Borrower and the Subsidiary Guarantors, the grant of a security interest in and liens
upon substantially all of such Entity’s assets in favor of the secured parties (including the authorization of
financing statements in connection with liens), (iv) in the case of the DIP Facility Borrower and the
Subsidiary Guarantors, to consummate the transactions under that certain Collateral Trust and Intercreditor
Agreement, by and among the DIP Facility Borrower, the Subsidiary Guarantors, Citibank as collateral
trustee for the benefit of the Secured Parties and each other person party thereto (the “Intercreditor
Agreement”), and (v) the execution, delivery and performance of all other agreements or the Intercreditor
Agreement, instruments, documents, notices or certificates constituting exhibits to the DIP New Money
Credit Agreement or that may be required, necessary, appropriate, desirable or advisable to be executed or
delivered pursuant to the DIP New Money Credit Agreement and the Intercreditor Agreement or otherwise
related thereto, including interest rate or currency hedging arrangements (together with the Intercreditor
Agreement, each a “DIP Financing Document” and collectively, the “DIP Financing Documents”), the
making of the representations and warranties and compliance with the covenants thereunder and the
assumption of any obligations under and in respect of any of the foregoing, are hereby authorized and
approved in all respects, and that any Authorized Person, who may act without the joinder of any other
Authorized Person, is hereby severally authorized, empowered and directed, in the name and on behalf of
such Entity, to execute and deliver the DIP New Money Credit Agreement and any other DIP Financing
Document to which such Entity is a party, with such changes therein and additions thereto as any such
Authorized Person, in his or her sole discretion, may deem necessary, convenient, appropriate, advisable or
desirable, the execution and delivery of the DIP New Money Credit Agreement and such DIP Financing
Document with any changes thereto by the relevant Authorized Person, to be conclusive evidence that such
Authorized Person deemed such changes to meet such standard; and be it further

         RESOLVED, that the form, terms and provisions of each of (i) the DIP New Money Credit
Agreement and the Intercreditor Agreement, including the use of proceeds to provide liquidity for the
Companies throughout the Chapter 11 Cases, substantially in the form presented to the Governing Body
and (ii) any and all of the other DIP Financing Documents, agreements, including, without limitation, any
guarantee and security agreement, letters, notices, certificates, documents and instruments authorized,
executed, delivered, reaffirmed, verified and/or filed in connection with the Debtor-in-Possession Financing
and the performance of obligations thereunder, including the borrowings and guarantees contemplated
thereunder, are hereby, in all respects confirmed, ratified and approved; and be it further


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          RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
  other Authorized Person, is hereby authorized, empowered, and directed, in the name and on behalf of
  such Entity, to cause such Entity to negotiate and approve the terms, provisions of and performance of,
  and to prepare, execute and deliver the DIP New Money Credit Agreement and any other DIP Financing
  Document, in the name and on behalf of such Entity under its corporate seal or otherwise, and such other
  documents, agreements, instruments and certificates as may be required by the Agent or required by the
  DIP New Money Credit Agreement and any other DIP Financing Documents; and be it further

          RESOLVED, that each Entity be, and hereby is, authorized to incur the obligations and to
  undertake any and all related transactions contemplated under the DIP New Money Credit Agreement and
  any other DIP Financing Document including the granting of security thereunder; and be it further

           RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
  other Authorized Person, is hereby authorized to grant security interests in, and liens on, any and all
  property (including oil and gas properties and other real property) of such Entity as collateral pursuant to
  the DIP New Money Credit Agreement and any other DIP Financing Document to secure all of the
  obligations and liabilities of such Entity thereunder to the Lenders and the Agent, and to authorize, execute,
  verify, file and/or deliver to the Agent, on behalf of such Entity, all agreements, documents and instruments
  required by the Lenders in connection with the foregoing; and be it further

           RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
  other Authorized Person, is hereby authorized, empowered, and directed, in the name and on behalf of
  such Entity, to take all such further actions including, without limitation, to pay all fees and expenses, in
  accordance with the terms of the DIP New Money Credit Agreement and any other DIP Financing
  Document, which shall, in such Authorized Person’s sole judgment, be necessary, proper or advisable to
  perform such Entity’s obligations under or in connection with the DIP New Money Credit Agreement or
  any other DIP Financing Document and the transactions contemplated therein and to carry out fully the
  intent of the foregoing resolutions; and be it further

          RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
  other Authorized Person, is hereby authorized, empowered, and directed, in the name and on behalf of
  such Entity, to execute and deliver any amendments, supplements, modifications, renewals, replacements,
  consolidations, substitutions and extensions of the DIP New Money Credit Agreement and/or any of the
  DIP Financing Documents which shall, in such Authorized Person’s sole judgment, be necessary, proper
  or advisable; and be it further

IV.   Letter of Credit Financing

           RESOLVED, that in connection with the Chapter 11 Cases and entry into the Debtor-in-Possession
  Financing, it is in the best interests of the DIP Facility Borrower to consummate the transactions under that
  certain continuing letter of credit facility agreement which, as a requisite condition to entry to the DIP New
  Money Credit Agreement, extends, renews, and deems issued the letters of credit outstanding under the
  Prepetition Revolving Credit Facility in an aggregate undrawn face amount of $458,727,219 to be
  evidenced by that certain Continuing Letter of Credit Facility Agreement, by and among the DIP Facility
  Borrower, Citibank as administrative agent and collateral trustee and each issuing lender party thereto (the
  “Continuing Letter of Credit Facility Agreement”) subject to approval by the Bankruptcy Court, which
  is necessary and appropriate to the conduct of the business of the Company (the “Letter of Credit
  Financing”); and be it further

        RESOLVED, that the execution and delivery of the Continuing Letter of Credit Facility
  Agreement and the L/C Financing Documents (as defined below) by each Entity that is party thereto and


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the consummation by such Entity of the transactions contemplated thereunder, including (i) in the case of
the DIP Facility Borrower, the borrowing of funds under the Letter of Credit Facility Agreement, (ii) in the
case of the DIP Facility Borrower and the Subsidiary Guarantors, the accession to the Intercreditor
Agreement and (iii) the execution, delivery and performance of all other agreements, instruments,
documents, notices or certificates constituting exhibits to the Continuing Letter of Credit Facility
Agreement or that may be required, necessary, appropriate, desirable or advisable to be executed or
delivered pursuant to the Continuing Letter of Credit Facility Agreement or otherwise related thereto,
including interest rate or currency hedging arrangements (each a “L/C Financing Document” and
collectively, the “L/C Financing Documents”), the making of the representations and warranties and
compliance with the covenants thereunder and the assumption of any obligations under and in respect of
any of the foregoing, are hereby authorized and approved in all respects, and that any Authorized Person,
who may act without the joinder of any other Authorized Person, is hereby severally authorized, empowered
and directed, in the name and on behalf of such Entity, to execute and deliver the Continuing Letter of
Credit Facility Agreement and any other L/C Financing Document to which such Entity is a party, with
such changes therein and additions thereto as any such Authorized Person, in his or her sole discretion, may
deem necessary, convenient, appropriate, advisable or desirable, the execution and delivery of the
Continuing Letter of Credit Facility Agreement and such L/C Financing Document with any changes
thereto by the relevant Authorized Person, to be conclusive evidence that such Authorized Person deemed
such changes to meet such standard; and be it further

         RESOLVED, that the form, terms and provisions of each of (i) the Continuing Letter of Credit
Facility Agreement, including the use of proceeds to provide liquidity for the Companies throughout the
Chapter 11 Cases, substantially in the form presented to the Governing Body and (ii) any and all of the
other agreements, including, without limitation, any guarantee and security agreement, letters, notices,
certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in
connection with the Letter of Credit Financing and the performance of obligations thereunder, including
the borrowings and guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and
approved; and be it further

        RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
other Authorized Person, is hereby authorized, empowered, and directed, in the name and on behalf of
such Entity, to cause such Entity to negotiate and approve the terms, provisions of and performance of,
and to prepare, execute and deliver the Continuing Letter of Credit Facility Agreement and any other L/C
Financing Document, in the name and on behalf of such Entity under its corporate seal or otherwise, and
such other documents, agreements, instruments and certificates as may be required by the Agent or required
by the Continuing Letter of Credit Facility Agreement and any other L/C Financing Documents; and be it
further

        RESOLVED, that each Entity be, and hereby is, authorized to incur the obligations and to
undertake any and all related transactions contemplated under the Continuing Letter of Credit Facility
Agreement and any other L/C Financing Document including the granting of security thereunder; and be it
further

        RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
other Authorized Person, is hereby authorized to grant security interests in, and liens on, any and all
property (including oil and gas properties and other real property) of such Entity as collateral pursuant to
the Continuing Letter of Credit Facility Agreement and any other L/C Financing Document to secure all of
the obligations and liabilities of such Entity thereunder to the Lenders and the Agent, and to authorize,
execute, verify, file and/or deliver to the Agent, on behalf of such Entity, all agreements, documents and
instruments required by the Lenders in connection with the foregoing; and be it further



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          RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
 other Authorized Person, is hereby authorized, empowered, and directed, in the name and on behalf of
 such Entity, to take all such further actions including, without limitation, to pay all fees and expenses, in
 accordance with the terms of the Continuing Letter of Credit Facility Agreement and any other L/C
 Financing Document, which shall, in such Authorized Person’s sole judgment, be necessary, proper or
 advisable to perform such Entity’s obligations under or in connection with the Continuing Letter of Credit
 Facility Agreement or any other L/C Financing Document and the transactions contemplated therein and to
 carry out fully the intent of the foregoing resolutions; and be it further

          RESOLVED, that each Authorized Person of each Entity, who may act without the joinder of any
 other Authorized Person, is hereby authorized, empowered, and directed, in the name and on behalf of
 such Entity, to execute and deliver any amendments, supplements, modifications, renewals, replacements,
 consolidations, substitutions and extensions of the Continuing Letter of Credit Facility Agreement and/or
 any of the L/C Financing Documents which shall, in such Authorized Person’s sole judgment, be necessary,
 proper or advisable; and be it further

V.   Derivative Transactions

          RESOLVED, that it is in the best interest of the Company to, from time to time, enter into (i) ISDA
 Master Agreements (including any schedules thereto, any credit support annexes to such schedules and any
 confirmations thereunder, the “ISDAs”), (ii) long-form confirmations referencing a form of ISDA Master
 Agreement without any schedule thereto (such long-form confirmations together with the ISDAs,
 collectively referred to as the “ISDA Agreements”), (iii) North American Energy Standards Board Base
 Contracts for the Sale and Purchase of Natural Gas (“NAESBs”), (iv) long-form confirmations referencing
 a form of NAESB (together with the NAESBs, the “NAESB Agreements”), (v) agreements with futures
 commission merchants (“FCMs”) that enable FCMs to act as brokers (the “FCM Master Agreements”),
 (vi) long-form confirmations referencing an FCM Master Agreement (together with the FCM Master
 Agreements, the “FCM Agreements”), (vii) transactions under the ISDA Agreements and FCM
 Agreements, including but not limited to fixed-price swaps, physical swaps, interest rate swaps, swaptions,
 basis swaps, call options, futures contracts, put options, and emission allowances, in each case, in the
 ordinary course of its business and/or for purposes of hedging or mitigating commercial risk (each such
 transaction, a “Derivatives Transaction”), and (vii) any regulatory agreements, letters, protocols,
 questionnaires and other documents in connection with the ISDA Agreements, NAESB Agreements, and/or
 FCM Agreements (together with the ISDA Agreements, NAESB Agreements, and FCM Agreements, the
 “Derivative Documents”); and it be further

          RESOLVED, that the Company will receive direct and indirect benefits as a result of the
 transactions contemplated by the Derivatives Documents, including any Derivatives Transactions, and it is,
 thus, in the best interest of the Company to execute and deliver the Derivatives Documents and perform its
 respective obligations thereunder as they come due in the ordinary course; and it be further

         RESOLVED, that, in connection with the Chapter 11 Cases, it is in the best interests of the
 Company to enter into (i) Consent and Waiver Agreements or Consent and Forbearance Agreements, which
 amend or amend and restate certain of the Company’s existing ISDA Agreements with certain
 counterparties (collectively, the “Consent and Waivers”) and (ii) amended FCM Master Agreements with
 certain FCMs, which amend or amend and restate certain of the Company’s existing FCM Master
 Agreements (the “Amended FCM Agreements” and together with the Consent and Waivers,
 the “Amended Derivative Documents”); and it be further

          RESOLVED, that the Company will receive direct and indirect benefits as a result of the
 transactions contemplated by the Derivatives Documents and Amended Derivative Documents


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(collectively, the “Postpetition Derivative Documents”), and it is thus in the best interest of the Company
to execute and deliver the Postpetition Derivative Documents and perform its respective obligations
thereunder; and it be further

        RESOLVED, that the Governing Body of each Entity deems the Postpetition Derivative
Documents, the execution and delivery thereof, the performance by the Company of its obligations
thereunder and the transactions contemplated thereby to be desirable, advisable and in the best interests of
the Entity; and it be further

         RESOLVED, that the negotiation, execution, and delivery of the Postpetition Derivative
Documents, and the consummation of any transactions contemplated thereunder, including the negotiation,
execution, and delivery of all other agreements, documents, forms, certificates, or instruments necessary to
consummate the Derivatives Transactions contemplated by the Postpetition Derivative Documents, and any
documents or agreements otherwise related thereto, including, but not limited to, amendments and
supplements thereto, waivers and terminations thereof, and any Derivatives Policies (as defined below)
(collectively, the “Additional Derivatives Documents”), be and the same hereby are authorized and
approved, and any Authorized Person of the Company, who may act without the joinder of any other
Authorized Person, is hereby severally authorized, empowered and directed, in the name and on behalf of
the Company, to execute and deliver the Postpetition Derivative Documents, with such changes therein and
additions thereto as it may deem necessary, convenient, appropriate, advisable or desirable, the execution
and delivery of the Postpetition Derivative Documents with any change thereto by the relevant Authorized
Person to be conclusive evidence that such Authorized Person deemed such changes to meet such standard;
provided that no Postpetition Derivative Documents shall be entered into unless it is in accordance with
any derivatives policies and procedures applicable to the Company from time to time (collectively, the
“Derivatives Policies”), and nothing contained in these resolutions shall be construed to derogate from the
Derivatives Policies; and be it further

        RESOLVED, that any Authorized Person of the Company, who may act without the joinder of any
other Authorized Person of the Company, is hereby authorized, empowered and directed, in the name and
on behalf of the Company, to cause the Company to negotiate and approve the terms, provisions of and
performance of, and to prepare, execute and deliver the Postpetition Derivative Documents and the
Additional Derivatives Documents, in the name and on behalf of the Company under its corporate seal or
otherwise, and such other documents, agreements, instrument and certificates as may be required by the
Postpetition Derivative Documents, the Additional Derivatives Documents, the DIP New Money Credit
Agreement or any other DIP Financing Documents, as may be necessary, appropriate or desirable to
consummate the transactions contemplated by the Postpetition Derivative Documents and the Additional
Derivatives Documents; and be it further

         RESOLVED, that each Authorized Person of the Company, who may act without the joinder of
any other Authorized Person, is hereby authorized, empowered and directed, in the name and on behalf of
the Company, to take all such further actions, including, without limitation, to pay all fees and expenses, in
accordance with the terms of the Postpetition Derivative Documents and the Additional Derivatives
Documents, which shall, in such Authorized Person’s sole judgment, be necessary, proper or advisable to
perform the Company’s obligations under or in connection with the Postpetition Derivative Documents, the
Additional Derivatives Documents, and the transactions contemplated therein and to carry out fully the
intent of the foregoing resolutions; and be it further

        RESOLVED, that each Authorized Person of the Company, who may act without the joinder of
any other Authorized Person, is hereby authorized, empowered and directed, in the name and on behalf of
the Company, to execute and deliver any amendments, supplements and other modifications of the



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   Postpetition Derivative Documents and/or any Additional Derivatives Documents which shall, in such
   Authorized Person’s sole judgment be necessary, proper or advisable.

VI.    Retention of Advisors

           RESOLVED, that, in connection with the Chapter 11 Cases, any Authorized Person, in each case,
   acting singly or jointly, be, and each hereby is, authorized, empowered and directed, with full power of
   delegation, in the name and on behalf of such Entity, to employ and retain all assistance by legal counsel,
   accountants, financial advisors, investment bankers and other professionals, on behalf of such Entity, that
   such Authorized Person deems necessary, appropriate or advisable in connection with, or in furtherance of,
   the Chapter 11 Cases, with a view to the successful prosecution of the Chapter 11 Cases (such acts to be
   conclusive evidence that such Authorized Person deemed the same to meet such standard); and be it further

          RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth Avenue,
   New York, New York 10153, is hereby retained as attorneys for each Entity in the Chapter 11 Cases, subject
   to Bankruptcy Court approval; and be it further

          RESOLVED, that the firm of Evercore Group L.L.C., located at 55 East 52nd Street, New York,
   New York 10055, is hereby retained as investment banker for each Entity in the Chapter 11 Cases, subject
   to Bankruptcy Court approval; and be it further

           RESOLVED, that the firm of Alvarez & Marsal North America, LLC (“A&M”), located at 700
   Louisiana Street, Suite 3300, Houston, Texas 3300, is hereby retained as financial advisor for each Entity
   in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

           RESOLVED, that the firm of Kroll Restructuring Administration, LLC, located at One Grand
   Central Place, 60 East 42nd Street, Suite 1440, New York, New York 10165, is hereby retained as claims
   agent for each Entity in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

            RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and each
   hereby is, authorized, empowered and directed, with full power of delegation, in the name and on behalf of
   the applicable Entity, to take and perform any and all further acts and deeds, including, without limitation,
   (i) the payment of any consideration, (ii) the payment of fees, expenses and taxes such Authorized Person
   deems necessary, appropriate, or desirable, and (iii) negotiating, executing, delivering, performing and
   filing any and all documents, motions, pleadings, applications, declarations, affidavits, schedules,
   statements, lists, papers, agreements, certificates and/or instruments (or any amendments or modifications
   thereto) in connection with the engagement of professionals contemplated by the foregoing resolutions
   (such acts to be conclusive evidence that such Authorized Person deemed the same to meet such standard);
   and be it further

VII.   “First Day” Declarant

            RESOLVED, that in light of the tenure of A&M’s engagement by the Company and, through such
   engagement, the familiarity and experience of Mr. Ryan Leland Omohundro (“Mr. Omohundro”), CFA,
   CPA, with the Company, its day-to-day operations, business and financial affairs, books and records, the
   circumstances leading to the commencement of the Chapter 11 Cases, and the Company’s negotiations with
   its key stakeholders to date, each Governing Body has determined it is appropriate and in the best interest
   of the Company to authorize Mr. Omohundro to serve as a declarant and provide testimony on behalf of




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    the Company with respect to the Company’s need for the relief requested in the “first day” pleadings (the
    “First Day Relief”) to be filed in connection with commencement of the Chapter 11 Cases; and be it further

            RESOLVED, that Mr. Omohundro is hereby authorized and empowered, on behalf of each Entity,
    to provide testimony, including by declaration, on behalf of the Company regarding the Company, its day-
    to-day operations, business and financial affairs, books and records, circumstances leading to the
    commencement of the Chapter 11 Cases, and negotiations with the Company’s key stakeholders and the
    Company’s determination regarding the need for First Day Relief;

VIII.   General Authority and Ratification

            RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and each
    hereby is, authorized, empowered and directed, with full power of delegation, in the name and on behalf
    of such Entity, to take and perform any and all further acts or deeds, including, but not limited to, (i) the
    negotiation of such additional agreements, amendments, modifications, supplements, reports, documents,
    instruments, applications, notes or certificates that may be required, (ii) the execution, delivery,
    performance under and filing (if applicable) of any of the foregoing, and (iii) the payment of all fees,
    consent payments, taxes and other expenses as any such Authorized Person, in his or her sole discretion,
    may approve or deem necessary, appropriate or desirable in order to carry out the intent and accomplish
    the purposes of the foregoing resolutions and the transactions contemplated thereby, all of such actions,
    executions, deliveries, filings and payments to be conclusive evidence of such approval or that such
    Authorized Person deemed the same to meet such standard; and be it further

             RESOLVED, that any and all past actions heretofore taken by any Authorized Person in the name
    and on behalf of the applicable Entity in furtherance of any or all of the preceding resolutions be, and the
    same hereby are, ratified, confirmed and approved in all respects as the acts and deeds of such Entity; and
    be it further

             RESOLVED, that the Secretary of each Entity is authorized to place a copy of this consent in the
    official records of each Entity to document the actions set forth herein as actions taken by the applicable
    Governing Body of such Entity.


                       [Remainder of page intentionally left blank. Signature page follows.]




                                                         9
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         IN WITNESS WHEREOF, the undersigned, being the Governing Body of each Entity hereafter
listed, have executed this written consent as of the date first set forth above.




                        [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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         IN WITNESS WHEREOF, the undersigned being the Governing Body of each Entity hereafter
listed, have executed this written consent as of the date first set forth above.
                                           BOARD OF MANAGERS OF
                                           TALEN ENERGY SUPPLY, LLC


                                            _____________________________________
                                                  Alejandro Hernandez


                                            _____________________________________
                                                  David M. Leuschen


                                            _____________________________________
                                                  Andrew Karian


                                            _____________________________________
                                                  Pierre F. Lapeyre Jr.


                                            _____________________________________
                                                  Kevin Wang


                                            _____________________________________
                                                  Carol Flaton


                                            _____________________________________
                                                  Gary Wojtaszek




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         IN WITNESS WHEREOF, the undersigned being the Governing Body of each Entity hereafter
listed, have executed this written consent as of the date first set forth above.
                                           BOARD OF MANAGERS OF
                                           TALEN ENERGY SUPPLY, LLC


                                            _____________________________________
                                                  Alejandro Hernandez


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                                                  David M. Leuschen


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                                                  Andrew Karian


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                                                  Pierre F. Lapeyre Jr.


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                                                  Kevin Wang


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                                                  Carol Flaton


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                                                  Gary Wojtaszek




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         IN WITNESS WHEREOF, the undersigned being the Governing Body of each Entity hereafter
listed, have executed this written consent as of the date first set forth above.
                                           BOARD OF MANAGERS OF
                                           TALEN ENERGY SUPPLY, LLC


                                            _____________________________________
                                                  Alejandro Hernandez


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                                                  David M. Leuschen


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                                                  Andrew Karian


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                                                  Pierre F. Lapeyre Jr.


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                                                  Kevin Wang


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                                                  Carol Flaton


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                                                  Gary Wojtaszek




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         IN WITNESS WHEREOF, the undersigned being the Governing Body of each Entity hereafter
listed, have executed this written consent as of the date first set forth above.
                                           BOARD OF MANAGERS OF
                                           TALEN ENERGY SUPPLY, LLC


                                            _____________________________________
                                                  Alejandro Hernandez


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                                                  David M. Leuschen


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                                                  Andrew Karian


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                                                  Pierre F. Lapeyre Jr.


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                                                  Kevin Wang


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                                                  Carol Flaton


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                                                  Gary Wojtaszek




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         IN WITNESS WHEREOF, the undersigned being the Governing Body of each Entity hereafter
listed, have executed this written consent as of the date first set forth above.
                                           BOARD OF MANAGERS OF
                                           TALEN ENERGY SUPPLY, LLC


                                            _____________________________________
                                                  Alejandro Hernandez


                                            _____________________________________
                                                  David M. Leuschen


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                                                  Andrew Karian


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                                                  Kevin Wang


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                                                  Carol Flaton


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                                                             BOARD OF DIRECTORS OF
                                                             TALEN ENERGY SERVICES NORTHEAST, INC.


                                                             _____________________________________
                                                                   Frank Kosa




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                               BOARD OF DIRECTORS OF
                               REALTY COMPANY OF PENNSYLVANIA


                               _____________________________________
                                     Andrew M. Wright


                               _____________________________________
                                     Thomas G. Douglass, Jr.


                               _____________________________________
                                     Rebekah Reneau




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                                                             BOARD OF DIRECTORS OF
                                                             REALTY COMPANY OF PENNSYLVANIA


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                                                                   Andrew M. Wright


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                                                                   Thomas G. Douglass, Jr.


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                                                                   Rebekah Reneau




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                               BOARD OF DIRECTORS OF
                               BDW CORP.


                               _____________________________________
                                     Andrew M. Wright


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                                     Thomas G. Douglass, Jr.


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                                     Rebekah Reneau




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                                                             BOARD OF DIRECTORS OF
                                                             BDW CORP.


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                                                                   Andrew M. Wright


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                                                                   Thomas G. Douglass, Jr.


                                                             _____________________________________
                                                                   Rebekah Reneau




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                               BOARD OF DIRECTORS OF
                               LADY JANE COLLIERIES, INC.


                               _____________________________________
                                     Andrew M. Wright


                               _____________________________________
                                     Thomas G. Douglass, Jr.


                               _____________________________________
                                     Rebekah Reneau




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                                                             BOARD OF DIRECTORS OF
                                                             LADY JANE COLLIERIES, INC.


                                                             _____________________________________
                                                                   Andrew M. Wright


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                                                                   Thomas G. Douglass, Jr.


                                                             _____________________________________
                                                                   Rebekah Reneau




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                          TALEN ENERGY SUPPLY, LLC,
                          as (A) the sole member of (i) Talen Generation, LLC,
                          (ii) Talen NE LLC, (iii) Talen Texas, LLC, (iv) Susquehanna
                          Nuclear, LLC, (v) Talen Montana Holdings, LLC, (vi) Talen
                          Nuclear Development, LLC, and (vii) Talen II Growth Parent
                          LLC, and (B) the sole manager of Talen Energy Marketing,
                          LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




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                                                             BOARD OF MANAGERS           OF   SUSQUEHANNA
                                                             NUCLEAR, LLC



                                                                   Brad Berryman




                                                                   Alejandro Hernandez




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                          BOARD OF MANAGERS OF TALEN MONTANA
                          HOLDINGS, LLC



                                    Andrew M. Wright




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                          TALEN TEXAS, LLC,
                          as the sole member of (i) Barney Davis, LLC, (ii) Laredo,
                          LLC, (iii) Nueces Bay, LLC, (iv) Talen Texas Property, LLC,
                          and (v) Talen Texas Group, LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          TALEN GENERATION, LLC,
                          as (A) the sole member of (i) Montour, LLC (ii) Brunner
                          Island, LLC, (iii) Raven Power Generation Holdings LLC,
                          (iv) RMGL Holdings LLC, (v) Montour Services, LLC
                          (vi) Holtwood, LLC, (vii) Martins Creek, LLC, (viii) Lower
                          Mount Bethel Energy, LLC, (ix) Pennsylvania Mines, LLC,
                          (x) MC OpCo LLC, and (xi) Sapphire Power Generation
                          Holdings LLC, and (B) the sole manager of Brunner Island
                          Services, LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          TALEN NUCLEAR DEVELOPMENT, LLC,
                          as the sole member of Bell Bend, LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          TALEN II GROWTH PARENT LLC
                          as the sole member of Talen II Growth Holdings LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          RAVEN POWER GENERATION HOLDINGS LLC,
                          as the sole member of (i) Raven Power Finance LLC, and
                          (ii) Raven Power Group LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          RAVEN POWER FINANCE LLC,
                          as the sole member of (i) Raven Power Fort Smallwood LLC,
                          (ii) Raven Lot 15 LLC, and (iii) Raven Power Property LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          RAVEN POWER FORT SMALLWOOD LLC,
                          as the sole member of Raven FS Property Holdings LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
Case 22-90106 Document 1 Filed in TXSB on 05/10/22 Page 42 of 76



                          RAVEN LOT 15 LLC,
                          as the sole member of Fort Armistead Road – Lot 15 Landfill,
                          LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
Case 22-90106 Document 1 Filed in TXSB on 05/10/22 Page 43 of 76



                          RAVEN FS PROPERTY HOLDINGS LLC,
                          as the sole member of (i) H.A. Wagner LLC, and (ii) Brandon
                          Shores LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          TALEN MONTANA HOLDINGS, LLC,
                          as the sole member of (i) Talen Montana, LLC, and
                          (ii) Colstrip Comm Serv, LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                                                        TALEN MONTANA, LLC,
                                                        as the sole member of Montana Growth Holdings LLC


                                                        By:
                                                        Name:     John Chesser
                                                        Title:    Chief Financial Officer




                                        [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          SAPPHIRE POWER GENERATION HOLDINGS LLC,
                          as the sole member of (i) Sapphire Power LLC, and (ii) Morris
                          Energy Management Company, LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          SAPPHIRE POWER LLC,
                          as the sole member of Sapphire Power Finance LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




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                          SAPPHIRE POWER FINANCE LLC,
                          as the sole member of MEG Generating Company, LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          MEG GENERATING COMPANY, LLC,
                          as the sole member of Sapphire Power Marketing LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




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                          SAPPHIRE POWER MARKETING LLC,
                          as the sole member of (i) Pedricktown Management Company
                          LLC, (ii) Pedricktown Investment Company LLC, (iii) York
                          Plant Holding, LLC, (iv) Elmwood Energy Holdings, LLC,
                          (v) Camden Plant Holding, L.L.C., and (vi) Newark Bay
                          Holding Company, L.L.C.


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          YORK PLANT HOLDING, LLC,
                          as the sole member of York Generation Company LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          ELMWOOD ENERGY HOLDINGS, LLC,
                          as the sole member of Elmwood Park Power, LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          NEWARK BAY HOLDING COMPANY, L.L.C.,
                          as the sole member of Liberty View Power, L.L.C.


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




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                          MORRIS ENERGY MANAGEMENT COMPANY, LLC,
                          as the sole member of Morris Energy Operations Company,
                          LLC


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          TALEN ENERGY MARKETING, LLC,
                          as the sole member of (i) Talen Energy Retail LLC, (ii) Talen
                          Treasure State, LLC, and (iii) Talen Energy Services Group,
                          LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          TALEN ENERGY SERVICES GROUP, LLC,
                          as the sole member of (i) Talen Energy Services Holdings,
                          LLC, and (ii) Talen Land Holdings, LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          TALEN NE LLC,
                          as the sole member of (i) Dartmouth Plant Holding, LLC, and
                          (ii) Northeast Gas Generation Holdings, LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




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                          DARTMOUTH PLANT HOLDING, LLC,
                          as the sole member of Dartmouth Power Holding Company,
                          L.L.C.


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          DARTMOUTH POWER HOLDING COMPANY, L.L.C.,
                          as the sole member of Dartmouth Power Generation, L.L.C.


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          TALEN II GROWTH HOLDINGS LLC,
                          as the sole member of Talen Technology Ventures LLC


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          PEDRICKTOWN MANAGEMENT COMPANY LLC,
                          as the sole general partner of Pedricktown Cogeneration
                          Company LP


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




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                          LIBERTY VIEW POWER, L.L.C.,
                          as the sole general partner of Newark Bay Cogeneration
                          Partnership, L.P.


                          By:
                          Name:     Andrew M. Wright
                          Title:    General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                          DARTMOUTH POWER GENERATION, L.L.C.,
                          as the sole general partner of Dartmouth Power Associates
                          Limited Partnership


                          By:
                          Name:      Andrew M. Wright
                          Title:     General Counsel and Secretary




             [SIGNATURE PAGE TO OMNIBUS WRITTEN CONSENT]
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                                          Schedule A


1.    Talen Energy Supply, LLC
2.    Talen Montana Holdings, LLC
3.    Talen Montana, LLC
4.    Montana Growth Holdings LLC
5.    Colstrip Comm Serv, LLC
6.    Talen Generation, LLC
7.    Montour, LLC
8.    Brunner Island, LLC
9.    Raven Power Generation Holdings LLC
10.   Raven Power Group LLC
11.   Raven Power Finance LLC
12.   Raven Power Fort Smallwood LLC
13.   Raven FS Property Holdings LLC
14.   H.A. Wagner LLC
15.   Brandon Shores LLC
16.   Raven Lot 15 LLC
17.   Fort Armistead Road – Lot 15 Landfill, LLC
18.   Raven Power Property LLC
19.   RMGL Holdings LLC
20.   Brunner Island Services, LLC
21.   Realty Company of Pennsylvania
22.   BDW Corp.
23.   Lady Jane Collieries, Inc.
24.   Montour Services, LLC
25.   Holtwood, LLC
26.   Martins Creek, LLC
27.   Sapphire Power Generation Holdings LLC
28.   Sapphire Power LLC
29.   Sapphire Power Finance LLC
30.   MEG Generating Company, LLC
31.   Sapphire Power Marketing LLC
32.   Pedricktown Management Company LLC
33.   Pedricktown Investment Company LLC
34.   Pedricktown Cogeneration Company LP
35.   York Plant Holding, LLC
36.   York Generation Company LLC
37.   Elmwood Energy Holdings, LLC
38.   Elmwood Park Power, LLC
39.   Camden Plant Holding, L.L.C.
40.   Newark Bay Holding Company, L.L.C.
41.   Liberty View Power, L.L.C.
42.   Newark Bay Cogeneration Partnership, L.P.
43.   Morris Energy Management Company, LLC
44.   Morris Energy Operations Company, LLC
45.   Lower Mount Bethel Energy, LLC
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46.   Pennsylvania Mines, LLC
47.   MC OpCo LLC
48.   Talen Nuclear Development, LLC
49.   Bell Bend, LLC
50.   Susquehanna Nuclear, LLC
51.   Talen Texas, LLC
52.   Barney Davis, LLC
53.   Nueces Bay, LLC
54.   Laredo, LLC
55.   Talen Texas Property, LLC
56.   Talen Texas Group, LLC
57.   Talen Energy Marketing, LLC
58.   Talen Energy Retail LLC
59.   Talen Treasure State, LLC
60.   Talen Energy Services Group, LLC
61.   Talen Energy Services Holdings, LLC
62.   Talen Energy Services Northeast, Inc.
63.   Talen Land Holdings, LLC
64.   Talen NE LLC
65.   NorthEast Gas Generation Holdings, LLC
66.   Dartmouth Plant Holding, LLC
67.   Dartmouth Power Holding Company, L.L.C.
68.   Dartmouth Power Generation, L.L.C.
69.   Dartmouth Power Associates Limited Partnership
70.   Talen II Growth Parent LLC
71.   Talen II Growth Holdings LLC
72.   Talen Technology Ventures LLC




                                               2
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    Fill in this information to identify the case:

    Debtor name: Talen Energy Services Holdings, LLC
    United States Bankruptcy Court for the Southern District of Texas
                                                  (State)
    Case number (If known):      22-_____ ( )                                                                                                  ☐ Check if this is an
                                                                                                                                                    amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                              12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
claims. 1

    Name of creditor and complete mailing address,          Name, telephone number, and email            Nature of the       Indicate if     Amount of unsecured claim
    including zip code                                      address of creditor contact                       claim           claim is       If the claim is fully unsecured, fill in only
                                                                                                         (for example,      contingent,      unsecured claim amount. If claim is partially
                                                                                                          trade debts,     unliquidated,     secured, fill in total claim amount and
                                                                                                          bank loans,       or disputed      deduction for value of collateral or setoff to
                                                                                                          professional                       calculate unsecured claim.
                                                                                                         services, and
                                                                                                          government
                                                                                                           contracts)
                                                                                                                                               Total      Deduction       Unsecured claim
                                                                                                                                             claim, if   for value of
                                                                                                                                             partially    collateral
                                                                                                                                             secured       or setoff
    1.     The Bank of New York Mellon, as Trustee          Attn.: Raymond O’Neil, Vice President,
           Attn.: Raymond O’Neil, Vice President, Client    Client Service Manager
           Service Manager                                  Phone: (412) 236-2101
                                                                                                       10.500% Senior
           500 Ross Street, 12th Floor                      Facsimile: (412) 234-8377                                                                                    $625,445,802.00
                                                                                                       Notes due 2026
           Pittsburgh, Pennsylvania 15262                   Email:
                                                            raymond.k.oneil@bnymellon.com

    2.     The Bank of New York Mellon, as Trustee          Attn.: Raymond O’Neil, Vice President,
           Attn.: Raymond O’Neil, Vice President, Client    Client Service Manager
           Service Manager                                  Phone: (412) 236-2101
                                                                                                       6.500% Senior
           500 Ross Street, 12th Floor                      Facsimile: (412) 234-8377                                                                                    $557,313,904.00
                                                                                                       Notes due 2025
           Pittsburgh, Pennsylvania 15262                   Email:
                                                            raymond.k.oneil@bnymellon.com

    3.     Pennsylvania Economic Development Financing      Attn.: Stephen Drizos, Director
           Authority                                        Phone: (717) 783-1109
           Pennsylvania Department of Community and         Email: sdrizos@pa.gov
           Economic Development, Center for Private
                                                                                                         PEDFA Series
           Financing
                                                                                                        2009A, 2009B,                                                    $231,709,643.00
           Attn.: Stephen Drizos, Director
                                                                                                         2009C Bonds
           Commonwealth Keystone Building
           400 North Street, 4th Floor
           Harrisburg, Pennsylvania 17120-0225

    4.     The Bank of New York Mellon, as Trustee          Attn.: Raymond O’Neil, Vice President,
           Attn.: Raymond O’Neil, Vice President, Client    Client Service Manager
           Service Manager                                  Phone: (412) 236-2101
                                                                                                       6.000% Senior
           500 Ross Street, 12th Floor                      Facsimile: (412) 234-8377                                                                                    $121,479,505.00
                                                                                                       Notes due 2036
           Pittsburgh, Pennsylvania 15262                   Email:
                                                            raymond.k.oneil@bnymellon.com




1
         Amounts may contain projected estimates of pre-petition liability as of the Petition Date and are subject to change.


    Official Form 204                                      List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                       Page 1



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                            Case 22-90106 Document 1 Filed in TXSB on 05/10/22 Page 67 of 76
 Debtor      Talen Energy Services Holdings, LLC                                                        Case number (if known)          22-_____ ( )
             Name

Name of creditor and complete mailing address,         Name, telephone number, and email            Nature of the       Indicate if     Amount of unsecured claim
including zip code                                     address of creditor contact                       claim           claim is       If the claim is fully unsecured, fill in only
                                                                                                    (for example,      contingent,      unsecured claim amount. If claim is partially
                                                                                                     trade debts,     unliquidated,     secured, fill in total claim amount and
                                                                                                     bank loans,       or disputed      deduction for value of collateral or setoff to
                                                                                                     professional                       calculate unsecured claim.
                                                                                                    services, and
                                                                                                     government
                                                                                                      contracts)
                                                                                                                                          Total      Deduction       Unsecured claim
                                                                                                                                        claim, if   for value of
                                                                                                                                        partially    collateral
                                                                                                                                        secured       or setoff
5.    The Bank of New York Mellon, as Trustee          Attn.: Raymond O’Neil, Vice President,
      Attn.: Raymond O’Neil, Vice President, Client    Client Service Manager
      Service Manager                                  Phone: (412) 236-2101
                                                                                                  6.500% Senior
      500 Ross Street, 12th Floor                      Facsimile: (412) 234-8377                                                                                     $24,411,078.00
                                                                                                  Notes due 2024
      Pittsburgh, Pennsylvania 15262                   Email:
                                                       raymond.k.oneil@bnymellon.com

6.    The Bank of New York Mellon, as Trustee          Attn.: Raymond O’Neil, Vice President,
      Attn.: Raymond O’Neil, Vice President, Client    Client Service Manager
      Service Manager                                  Phone: (412) 236-2101
                                                                                                  7.000% Senior
      500 Ross Street, 12th Floor                      Facsimile: (412) 234-8377                                                                                     $20,361,149.00
                                                                                                  Notes due 2027
      Pittsburgh, Pennsylvania 15262                   Email:
                                                       raymond.k.oneil@bnymellon.com

7.    The Bank of New York Mellon, as Trustee          Attn.: Raymond O’Neil, Vice President,
      Attn.: Raymond O’Neil, Vice President, Client    Client Service Manager
      Service Manager                                  Phone: (412) 236-2101
                                                                                                  9.500% Senior
      500 Ross Street, 12th Floor                      Facsimile: (412) 234-8377                                                                                     $17,003,689.00
                                                                                                  Notes due 2022
      Pittsburgh, Pennsylvania 15262                   Email:
                                                       raymond.k.oneil@bnymellon.com

8.    Day & Zimmermann NPS                             Attn.: Harold Yoh, III, Chair & CEO
      Attn.: Harold Yoh, III, Chair & CEO              Phone: (215) 299-8000
      1500 Spring Garden Street                        Email: harold.yoh@dayzim.com                Trade Payables                                                    $13,075,604.00
      Philadelphia, Pennsylvania 19130

9.    GE Hitachi Nuclear Energy Americas LLC           Attn.: Jay Wileman, President & CEO
      Attn.: Jay Wileman, President & CEO              Phone: (910) 200-7993
      3901 Castle Hayne Road                           Email: jay.wileman@ge.com                   Trade Payables                                                    $10,151,859.00
      Wilmington, North Carolina 28402

10.   General Electric International, Inc.             Attn.: H. Lawrence Culp Jr., CEO
      Attn.: H. Lawrence Culp Jr., CEO                 Phone: (877) 394-9775
      5 Necco Street                                   Email: lawrence.culp@ge.com                 Trade Payables                                                    $4,098,309.00
      Boston, Massachusetts 02210

11.   The Merrick Group Inc.                           Attn.: Daniel Merrick, CEO
      Attn.: Daniel Merrick, CEO                       Phone: (570) 455-0600
      100 Unico Drive                                  Facsimile: (570) 455-5787                   Trade Payables                                                    $3,822,412.00
      West Hazleton, Pennsylvania 18202                Email: dmerrick@mginc.net

12.   US Nuclear Regulatory Commission - USNRC         Attn.: Christopher T. Hanson, Chairman
      Attn.: Christopher T. Hanson, Chairman &         & Commissioner
      Commissioner                                     Phone: (301) 415-0566
      One White Flint North                            Email: chairman@nrc.gov                     Trade Payables                                                    $3,293,280.00
      11555 Rockville Pike
      Rockville, Maryland 20852-2738

13.   Siemens Energy, Inc.                             Attn.: Christian Bruch, President & CEO
      Attn.: Christian Bruch, President & CEO          Phone: (407) 736-2000
      4400 North Alafaya Trail                         Email: christian.bruch@siemens.com          Trade Payables                                                    $3,016,185.00
      Orlando, Florida 32826

14.   System One Holdings, LLC                         Attn.: Troy Gregory, President & CEO
      Attn.: Troy Gregory, President & CEO             Phone: (412) 995-1900
      210 Sixth Avenue, Suite 3100                     Email:                                      Trade Payables                                                    $2,363,309.00
      Pittsburgh, Pennsylvania 15222                   troy.gregory@systemoneservices.com



 Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                       Page 2



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                             Case 22-90106 Document 1 Filed in TXSB on 05/10/22 Page 68 of 76
 Debtor      Talen Energy Services Holdings, LLC                                                     Case number (if known)          22-_____ ( )
             Name

Name of creditor and complete mailing address,      Name, telephone number, and email            Nature of the       Indicate if     Amount of unsecured claim
including zip code                                  address of creditor contact                       claim           claim is       If the claim is fully unsecured, fill in only
                                                                                                 (for example,      contingent,      unsecured claim amount. If claim is partially
                                                                                                  trade debts,     unliquidated,     secured, fill in total claim amount and
                                                                                                  bank loans,       or disputed      deduction for value of collateral or setoff to
                                                                                                  professional                       calculate unsecured claim.
                                                                                                 services, and
                                                                                                  government
                                                                                                   contracts)
                                                                                                                                       Total      Deduction       Unsecured claim
                                                                                                                                     claim, if   for value of
                                                                                                                                     partially    collateral
                                                                                                                                     secured       or setoff
15.   Paul Farr                                     Attn: Paul Farr
      Address on File                               Address on File                             Supplemental
                                                                                                Compensation                                                      $1,953,973.00
                                                                                                    Plan

16.   Consol Energy Inc.                            Attn.: Jimmy A. Brock, President & CEO
      Attn.: Jimmy A. Brock, President & CEO        Phone: (724) 416-8300
      1000 Consol Energy Drive, Suite 100           Email: jimmybrock@consolenergy.com          Trade Payables                                                    $1,889,780.00
      Canonsburg, Pennsylvania 15317-6506

17.   BHI Energy, Inc.                              Attn.: Robert Decensi, CEO
      Attn.: Robert Decensi, CEO                    Phone: (203) 453-6653
      97 Libbey Industrial Parkway, 4th Floor       Email: rdecensi@bhienergy.com               Trade Payables                                                    $1,500,307.00
      Weymouth, Massachusetts 02189

18.   Enerfab Power & Industrial Inc.               Attn.: Trisha Cole, CFO
      Attn.: Trisha Cole, CFO                       Phone: (513) 374-6989
      4430 Chickering Avenue                        Email: trisha.cole@enerfab.com              Trade Payables                                                    $1,457,464.00
      Cincinnati, Ohio 45232

19.   Oftedal Construction Inc.                     Attn.: Greg Jackson, President
      Attn.: Greg Jackson, President                Phone: (307) 237-4499
      2376 Seven Mile Road                          Facsimile: (307) 473-2633
                                                                                                Trade Payables                                                    $1,387,263.00
      Casper, Wyoming 82604                         Email:
                                                    gjackson@oftedalconstruction.com

20.   The Atlantic Group, Inc. d/b/a DZ Atlantic    Attn.: Harold Yoh, III, Chair & CEO
      Attn.: Harold Yoh, III, Chair & CEO           Phone: (215) 299-8000
      1500 Spring Garden Street                     Email: harold.yoh@dayzim.com                Trade Payables                                                    $1,327,305.00
      Philadelphia, Pennsylvania 19130

21.   NAES Power Contractors                        Attn.: Norman Escover, President &
      Attn.: Norman Escover, President & CEO        CEO
      1180 NW Maple Street, Suite 200               Phone: (425) 961-4700                       Trade Payables                                                    $1,216,781.00
      Vancouver, Washington 98661                   Email: norm.escover@naes.com

22.   CFM/VR-Tesco, LLC                             Attn.: Steve Mondrowski, Vice
      Attn.: Steve Mondrowski, Vice President       President
      1875 Fox Lane                                 Phone: (847) 895-6694                       Trade Payables                                                    $1,084,239.00
      Elgin, Illinois 60123                         Email: smondrowski@globalfield.net

23.   Elite Piping & Civil, Ltd.                    Attn.: Joe Durham, CEO
      Attn.: Joe Durham, CEO                        Phone: (281) 867-1125
      225 S. 16th Street                            Email: joedurham@catspec.com                Trade Payables                                                    $1,007,700.00
      La Porte, Texas 77571

24.   SPX Cooling Technologies, Inc.                Attn.: Gene Lowe, President & CEO
      Attn.: Gene Lowe, President & CEO             Phone: (980) 474-3700
      6325 Ardrey Kell Road, Suite 400              Email: gene.lowe@spx.com                    Trade Payables                                                     $885,163.00
      Charlotte, North Carolina 28277

25.   Framatome Inc.                                Attn.: Bernard Fontana, CEO
      Attn.: Bernard Fontana, CEO                   Phone: (434) 832-3000
      3315 Old Forest Road                          Email:                                      Trade Payables     Unliquidated                                    $555,057.00
      Lynchburg, Virginia 24501                     bernard.fontana@framatome.com




 Official Form 204                                 List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                       Page 3



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 Debtor      Talen Energy Services Holdings, LLC                                                      Case number (if known)          22-_____ ( )
             Name

Name of creditor and complete mailing address,       Name, telephone number, and email            Nature of the       Indicate if     Amount of unsecured claim
including zip code                                   address of creditor contact                       claim           claim is       If the claim is fully unsecured, fill in only
                                                                                                  (for example,      contingent,      unsecured claim amount. If claim is partially
                                                                                                   trade debts,     unliquidated,     secured, fill in total claim amount and
                                                                                                   bank loans,       or disputed      deduction for value of collateral or setoff to
                                                                                                   professional                       calculate unsecured claim.
                                                                                                  services, and
                                                                                                   government
                                                                                                    contracts)
                                                                                                                                        Total      Deduction       Unsecured claim
                                                                                                                                      claim, if   for value of
                                                                                                                                      partially    collateral
                                                                                                                                      secured       or setoff
26.   Holtec International                           Attn.: Kris Singh, President & CEO
      Attn.: Kris Singh, President & CEO             Phone: (561) 427-2300
      1001 N US Highway 1                            Email:                                      Trade Payables     Unliquidated                                   Undetermined
      Jupiter, Florida 33477                         kris.singh@holtecinternational.com

27.   Credit Suisse International                    Attn.: Marc Mansourian, Managing
      Attn.: Marc Mansourian, Managing Director      Director
      11 Madison Avenue                              Phone: (212) 538-0294
      New York, New York 10010                       Facsimile: +44 207 888 8398
                                                     Email:
                                                                                                    Letter of        Contingent
      Credit Suisse International                    marc.mansourian@credit-suisse.com                                                                             Undetermined
                                                                                                  Credit Facility   Unliquidated
      Attn.: Marc Mansourian, Managing Director
      One Cabot Square
      London England, E14 4QJ
      United Kingdom

28.   PPL Corporation                                Attn.: Wendy Stark, SVP & General
      Attn.: Wendy Stark, SVP & General Counsel      Counsel
                                                                                                                     Contingent
      2 N. 9th Street                                Phone: (610) 774-5151
                                                                                                    Litigation      Unliquidated                                   Undetermined
      Allentown, Pennsylvania 18101                  Facsimile: (610) 774-6503
                                                                                                                      Disputed
                                                     Email: wstark@pplweb.com

29.   MUFG Bank, Ltd.                                Attn.: Sean Santos, Director               Reimbursement
      Attn.: Sean Santos, Director                   Phone: (212) 782-4211                        Agreement
      1221 Avenue of the Americas                    Email: ssantos@us.mufg.jp                   PEDFA Series        Contingent
                                                                                                                                                                   Undetermined
      New York, New York 10020                                                                    2009B and         Unliquidated
                                                                                                 2009C Bonds

30.   Pension Benefit Guaranty Corporation (PBGC)    Attn.: Patricia Kelly, CFO
      Attn.: Patricia Kelly, CFO                     Phone: (202) 229-3033                                           Contingent
      1200 K Street, NW                              Email: kelly.patricia@pbgc.gov                  Pension                                                       Undetermined
                                                                                                                    Unliquidated
      Washington, District of Columbia 20005




 Official Form 204                                  List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                       Page 4



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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                          §
                                                          §
In re                                                     §      Chapter 11
                                                          §
TALEN ENERGY SERVICES                                     §      Case No. 22– ________( )
HOLDINGS, LLC,                                            §
                                                          §
                               Debtor.                    §
                                                          §

                  CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                     PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart

reflecting all of the ownership interests in Talen Energy Supply, LLC (the “TES”) and its debtor

affiliates (each, a “Debtor” and collectively, the “Debtors”). Pursuant to Rule 1007(a)(3) of the

Bankruptcy Rules, the organizational chart identifies all holders having an equity interest in the

above-captioned debtor in possession. The Debtors respectfully represent as follows:

                     1.        Each Debtor listed in Exhibit A is 100% owned by its direct parent unless

          otherwise noted.

                     2.        Talen Energy Corporation (“TEC”) is owned 49% by Talen MidCo LLC,

          28.9% by Raven Power Holdings LLC (“Raven”) and 18.5% by C/R Energy Jade, LLC

          (“Jade”).

                     3.        The following affiliates of Riverstone Holdings LLC own more than 10% of

          the equity in Talen MidCo LLC, Raven and Jade:

                                a. Talen MidCo LLC is owned 56.6% by Raven and 36.3% by Jade.




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                                b. Raven is 99% owned by Riverstone V Raven Holdings, L.P. (“Raven

                                    Holdings”), which is 100% owned by Riverstone Global Energy and

                                    Power Fund V, L.P. (“Fund V”).

                                c. Jade is 90% owned by Carlyle/Riverstone Global Energy and Power

                                    Fund III, L.P. (“Fund III”).

                     4.        No person or entity owns, directly or indirectly, more than a 10% equity

          interest in TEC, other than Talen MidCo LLC, Raven, Jade, Raven Holdings, Fund V, and

          Fund III.

                     5.        As set forth on Exhibit A, TEC owns 100% of the outstanding equity

          interests of TES.

                     6.        TES owns, either directly or indirectly, 100% of the outstanding equity

          interests in the remaining Debtors.




                                                        2
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                                     Exhibit A

                                Organizational Chart




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                                                                                                                                        Affiliates of                                             Entity Key:                                         Filing Status:
                                                                                                                                         Riverstone
                                                                                                                                        Holdings LLC                                                             Corporation                                       Debtor
                                                                                                                                                                                                                                                                   Non-Debtor
                                                                                                                                                                                                                 Limited Liability Company

                                                                                                                                                                                                                 Limited Partnership
                                                                                                                                        Talen Energy
   Corporate Structure                                                                                                                  Corporation




                                                                                                                                       Talen Energy
                                                                                                                                       Supply, LLC1


                                                                                                                                                                                                                                Talen Energy
                            Talen                                                                                                                          Susquehanna
                                       2                                          Talen NE LLC                            Talen Texas, LLC                                                                                     Marketing, LLC
                        Generation, LLC                                                                                                                     Nuclear, LLC
                                                                                                                                                                                                                               (Pennsylvania)


                             2
                                                                                                    NorthEast Gas
                                                             Dartmouth Plant                                                                                                 Talen Nuclear                                                      Talen Energy Retail
                                                                                                 Generation Holdings,                        Barney Davis, LLC
                                                               Holding, LLC                                                                                                Development, LLC                                                             LLC
                                                                                                         LLC

                                                                                                                                                                                              Talen II Growth
                                                                                                                                                                                                Parent LLC

                                                            Dartmouth Power
                                                                                                  Dartmouth Power                                                                                                                               Talen Treasure State,
                                                            Holding Company,                                                                    Laredo, LLC                 Bell Bend, LLC
                                                                                                  Generation, L.L.C.                                                                                                                                     LLC
                                                                   LLC

                                                                                                     GP 1%                                                                                    Talen II Growth
                                                                                                                                                                                               Holdings LLC

                                           Talen Montana                          LP 99%                Dartmouth                                                                                                                                  Talen Energy Services
                                                                                                     Power Associates                         Nueces Bay, LLC
                                            Holdings, LLC                                                                                                                                                                                               Group, LLC
                                                                                                    Limited Partnership
                                                                                                      (Massachusetts)
                                                                                                                                                                                              Talen Technology
                                                                                                                                                                                                Ventures LLC

                                                                                                                                                                                                                                                                        Talen Land
                                                            Colstrip Comm Serv,                                                          Talen Texas Property,                                                             Talen Energy Services
                      Talen Montana, LLC                                                                                                                                                                                                                               Holdings, LLC
                                                                     LLC                                                                          LLC                                                                          Holdings, LLC
                                                                                                                                                                                                                                                                      (Pennsylvania)




                                                                                                                                                                                                                           Talen Energy Services
                       Montana Growth                                                                                                        Talen Texas Group,
                                                                                                                                                                                                                              Northeast, Inc.
                        Holdings LLC                                                                                                                 LLC
                                                                                                                                                                                                                             (Massachusetts)


1. Non-debtor subsidiaries of Talen Energy Supply, LLC are excluded from this Organizational Chart.
2. Direct and indirect subsidiaries of Talen Generation, LLC provided on page 2 hereof.
                                                                                             Ownership interests are 100%, unless otherwise noted.
                                                                                           Entities are organized in Delaware, unless otherwise noted.
                                                                                                                                                                                                                                                                                       1
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                                                                                                            Talen Generation, LLC




                       Raven Power                                                                                                                                                                                             Sapphire Power
                                                                             Brunner Island                 Lower Mount Bethel
                    Generation Holdings                                                                                                           Holtwood, LLC                                                              Generation Holdings
                                                                              Services, LLC                    Energy, LLC
                            LLC                                                                                                                                                                                                      LLC
                                                                             (Pennsylvania)




                                                                            Montour Services,                                                                                                                                                       Morris Energy
Raven Power Finance                     Raven Power Group
                                                                                  LLC                        Martins Creek, LLC                 RMGL Holdings LLC                                          Sapphire Power LLC                       Management
        LLC                                    LLC
                                                                             (Pennsylvania)                                                                                                                                                         Company, LLC




                                                                                                                                                                                                                                                    Morris Energy
                       Raven Power                                                                                                              Pennsylvania Mines,                                         Sapphire Power
                                                                            Brunner Island, LLC                 MC OpCo LLC                                                                                                                      Operations Company,
                       Property LLC                                                                                                                     LLC                                                   Finance LLC
                                                                                                                                                                                                                                                         LLC




                                                                                                                                                Realty Company of
                                                  Fort Armistead Road          Montour, LLC                                                                                                                 MEG Generating
                     Raven Lot 15 LLC                                                                                                              Pennsylvania
                                                  – Lot 15 Landfill, LLC                                                                                                                                     Company, LLC
                                                                                                                                                  (Pennsylvania)




                                                                                                                                                                      Lady Jane Collieries,
                     Raven Power Fort                                                                                                                                                                       Sapphire Power
                                                                                                                                    BDW Corp.                                 Inc.
                      Smallwood LLC                                                                                                                                                                         Marketing, LLC
                                                                                                                                                                        (Pennsylvania)




                                                                                                                                                                                      Pedricktown
                     Raven FS Property                                                                                                                              GP 0.5%                                                      Camden Plant
                                                                                                                                                                                      Management
                       Holdings LLC                                                                                                                                                                                               Holding, LLC
                                                                                                                                                                                      Company LLC




                                                                                                                                                                                      Pedricktown
                                                                                                                                                     Pedricktown       LP 99.5%                                                 Elmwood Energy                 Elmwood Park
  H.A. Wagner LLC                       Brandon Shores LLC                                                                                           Cogeneration                 Investment Company
                                                                                                                                                                                                                                  Holdings, LLC                  Power, LLC
                                                                                                                                                     Company LP                           LLC
                                                                                                                                                     (New Jersey)




                                                                                                                                                Liberty View Power,               Newark Bay Holding                         York Plant Holding,              York Generation
                                                                                                                                                        L.L.C.                     Company, L.L.C.                                   LLC                       Company LLC

                                                                                                                                                                                      LP 98%



                                                                                                                                                                       GP 2%             Newark Bay
                                                                                                                                                                                        Cogeneration
                                                                                                                                                                                       Partnership, L.P.
                                                                                                                                                                                        (New Jersey)




                                                                                          Ownership interests are 100%, unless otherwise noted.
                                                                                        Entities are organized in Delaware, unless otherwise noted.
                                                                                                                                                                                                                                                                           2
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                 §
                                                                 §
In re                                                            §           Chapter 11
                                                                 §
TALEN ENERGY SERVICES                                            §           Case No. 22– ________( )
HOLDINGS, LLC,                                                   §
                                                                 §
                               Debtor.                           §
                                                                 §

                                         LIST OF EQUITY HOLDERS1

                    Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest, of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐         There are no equity security holders or corporations that directly or indirectly own 10%
          or more of any class of the Debtor’s equity interest.

☒         The following are the Debtor’s equity security holders (list holders of each class, showing
          the number and kind of interests registered in the name of each holder, and the last
          known address or place of business of each holder):

    Name and Last Known Address or Place of                             Kind/Class of            Number of
              Business of Holder                                          Interest             Interests Held
          Talen Energy Services Group, LLC
           1780 Hughes Landing Boulevard                                    Membership
                                                                                                     100%
                      Suite 800                                              Interests
            The Woodlands, Texas 77380




1
      This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
      Procedure. All equity positions listed are as of the date of commencement of the Debtor’s chapter 11 case.

                                                   List of Equity Holders                                            1


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 Fill in this information to identify the case:

 Debtor name: Talen Energy Services Holdings, LLC
 United States Bankruptcy Court for the Southern District of Texas
                                                  (State)
 Case number (If known):        22-_____ ( )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.



             Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:

          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____
          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
          Insiders (Official Form 204)
          Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity
          Holders

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on May 9, 2022
                                                           /s/ Andrew M. Wright
                                                            Signature of individual signing on behalf of debtor
                     MM /DD /YYYY
                                                            Andrew M. Wright
                                                            Printed name

                                                            General Counsel and Secretary
                                                            Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


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